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 4
     Attorney for Defendant
 5   MARIO DIAZ, JR.
 6

 7                         UNITED STATES DISTRICT COURT
 8                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
                                         ) Case No.: Cr.07-248-01 WBS
10   UNITED STATES OF AMERICA,           )
                                         )
11               Plaintiff,              ) APPLICATION AND [PROPOSED]
                                         ) ORDER TO CONTINUE SENTENCING TO
12         vs.                           ) APRIL 21, 2014
                                         )
13   MARIO DIAZ, JR.,                    )
                                         ) Hon. William B. Shubb
14               Defendant.              )
                                         )
15

16
           This matter is before the Court on January 13, 2014 at 9:30
17

18   a.m., for sentencing.     Counsel for the defense is requesting a

19   continuance to April 21, 2014, at 9:30 a.m. to prepare for
20
     sentencing.   Government counsel, Jason Hitt, and United States
21
     Probation Officer Dayna Ward are not opposing this request.
22
           Good cause appearing,
23
           IT IS ORDERED that this matter is to be continued from
24

25   January 13th, 2014 at 9:30 a.m., to April 21, 2014 at 9:30 a.m.

26   for Judgment and Sentencing.
27   ///
     ///
28   ///


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     Dated:   January 9, 2014
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